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 6
                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 7                                   AT SEATTLE
 8
 9 UNITED STATES OF AMERICA, )
                                 )
10                   Plaintiff,  )                 CASE NO.    06-472 M
                                 )
11         v.                    )
                                 )
12                               )                 DETENTION ORDER
    ANTHONY SAYASACK,            )
13                               )
                Defendant.       )
14 ______________________________)
15 Offenses charged:
16            Conspiracy to Distribute Marijuana, in violation of Title 21, U.S.C., Section
17            841(a)(1), 841(b)(1)(B) and (846).
18            Conspiracy to Distribute MDMA, in violation of Title 21, U.S.C., Sections
19            841(a)(1) and 841(b)(1)(c).
20 Date of Detention Hearing: September 12, 2006
21            The Court, having conducted a contested detention hearing pursuant to Title 18
22 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
23 hereafter set forth, finds that no condition or combination of conditions which the defendant
24 can meet will reasonably assure the appearance of the defendant as required and the safety
25 of any other person and the community. The Government was represented by Lisca
26 Borichewski. The defendant was represented by Michael Martin.


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 1      FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2         (1)   There is probable cause to believe the defendant committed the drug
 3               offense. The maximum penalty is in excess of ten years. There is
 4               therefore a rebuttable presumption against the defendant’s release based
 5               upon both dangerousness and flight risk, under Title 18 U.S.C. §
 6               3142(e).
 7         (2)   Nothing in this record satisfactorily rebuts the presumption against
 8               release for several reasons: Using the factors below, under Title 18 §
 9               3142 (g), the Court considered the following:
10               (a)    The alleged offense involves 100 kilograms or more of a
11                      controlled substance mixture containing marijuana.
12               (b)    Defendant has no stable employment, thus his income appears to
13                      be derived from otherwise illegal means.
14               (c)    Although defendant has ties in the community, it alone is not
15                      enough to overcome presumption in this case.
16         (3)   Based upon the foregoing information, it appears that there is no
17               condition or combination of conditions that would reasonably assure
18               future Court appearances and/or the safety of other persons or the
19               community.
20         It is therefore ORDERED:
21         (l)   The defendant shall be detained pending trial and committed to the
22               custody of the Attorney General for confinement in a correction facility
23               separate, to the extent practicable, from persons awaiting or serving
24               sentences or being held in custody pending appeal;
25         (2)   The defendant shall be afforded reasonable opportunity for private
26               consultation with counsel;

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 1         (3)   On order of a court of the United States or on request of an attorney for
 2               the Government, the person in charge of the corrections facility in which
 3               the defendant is confined shall deliver the defendant to a United States
 4               Marshal for the purpose of an appearance in connection with a court
 5               proceeding; and
 6         (4)   The clerk shall direct copies of this order to counsel for the United
 7               States, to counsel for the defendant, to the United States Marshal, and to
 8               the United States Pretrial Services Officer.
 9         DATED this 13th day of September, 2006.
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                                                    MONICA J. BENTON
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                                                    United States Magistrate Judge
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     DETENTION ORDER
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